                         UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

    In re:                                  )
                                            )      Case No. 17-14920-(AIH)
       Richard McKay Osborne Jr.,           )
                                            )      Chapter 7
       Tricia A. Osborne,                   )
                                            )      Judge Arthur I. Harris
                      Debtors.              )

    UNOPPOSED MOTION PURSUANT TO FED. R. BANKR. P. 2004 FOR ORDER
            AUTHORIZING THE UNITED STATES TRUSTEE TO
          EXAMINE CO-DEBTOR RICHARD MCKAY OSBORNE, JR.

       Daniel M. McDermott, the United States Trustee for Region 9 (“United States Trustee”),

by and through undersigned counsel, hereby moves, pursuant to Fed. R. Bankr. P. 2004 for the

entry of an order that) authorizes the United States Trustee or his designee to examine the

co-debtor Richard McKay Osborne, Jr. (the “Debtor”) and to create a record of said examination

by recording verbatim or by stenographic means, at the time and place notified below.


                      APPEARANCE FOR EXAMINATION
                      Date: April 23, 2018
                      Time: 9:30 a.m. EDT
                      Place: United States Trustee 341 Meeting Room
                             H.M. Metzenbaum U.S. Courthouse, 6th Floor
                             201 Superior Ave. E. Suite 441
                             Cleveland, OH 44114

THIS TIME AND PLACE MAY BE CHANGED BY MUTUAL AGREEMENT OF THE
PARTIES IN ORDER TO EFFECTUATE AN ORDERLY EXAMINATION AND/OR TO
COMPLY WITH APPLICABLE RULES.


       WHEREFORE, the United States Trustee prays that this Court enter an order, pursuant to

Fed. R. Bankr. P. 2004, authorizing the United States Trustee or his designee to examine the

Debtor.




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                                             Respectfully submitted,


                                             Daniel M. McDermott
                                             United States Trustee, Region 9

                                     by:       /s/ Scott R. Belhorn_______
                                             Scott R. Belhorn (#0080094)
                                             Trial Attorney
                                             Office of the U.S. Trustee
                                             H.M. Metzenbaum U.S. Courthouse
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                                CERTIFICATE OF SERVICE

        I, Scott R. Belhorn, hereby certify that the foregoing Motion was electronically transmitted
on or about March 8, 2017, via the Court’s CM/ECF system to the following who are listed on the
Court’s Electronic Mail Notice List:

   •   Michael David Allen       michael.allen@ohioattorneygeneral.gov
   •   Adam S. Baker       abakerlaw@sbcglobal.net, adam@bakerlaw.us;abakerlaw@gmail.com
   •   Patricia L. Johnson     bankruptcies@gernerlaw.com
   •   Christopher J. Klym      bk@hhkwlaw.com
   •   Stuart A. Laven      slaven@cavitch.com
   •   Heather L. Moseman        heather@mosemanlaw.com, admin@mosemanlaw.com
   •   David O. Simon, Trustee       david@simonlpa.com, dosimon@ecf.epiqsystems.com
   •   Timothy M. Sullivan       tim@tmslaw.net, crystal@tmslaw.net
   •   United States Trustee      (Registered address)@usdoj.gov


       I, Scott R. Belhorn, hereby certify that the foregoing Motion was mailed via U.S. Post First
Class on March 8, 2017, to the following parties:

Richard McKay Osborne, Jr
9050 Jackson Street
Mentor, OH 44060
                                                        /s/ Scott R. Belhorn
                                                         Scott R. Belhorn




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